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TESLA, INC., a Delaware corporation,
Plaintifé,
v.
MARTIN TRIPP, an individual,

Defendant.

AND RELATED COUNTERCLAIM

2525 East Camelback Road Phoenix, Arizona 85016-4229

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Case No.: 3:18-cv-00296-LRH-CBC

[PROPOSED] PROTECTIVE ORDER
REGARDING THE DISCLOSURE AND
USE OF DISCOVERY MATERIAL

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[PROPOSED] PROTECTIVE ORDER

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Plaintiff Tesla, Inc. (‘Plaintiff’) and Defendant Martin Tripp (“Defendant”) anticipate that
documents, testimony, or information containing or reflecting confidential, proprietary, trade
secret, and/or commercially sensitive information are likely to be disclosed or produced during the
course of discovery, initial disclosures, and supplemental disclosures in this case and request that
the Court enter this Order setting forth the conditions for treating, obtaining, and using such
information.

Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good cause
for the following [Proposed] Protective Order Regarding the Disclosure and Use of Discovery
Material (“Order” or “Protective Order’).

1. PURPOSES AND LIMITATIONS

(a) Protected Material designated under the terms of this Protective Order shall
be used by a Receiving Party solely for this case and shall not be used directly or indirectly for any
other purpose whatsoever.

(b) ‘The Parties acknowledge that this Order does not confer blanket protections
on all disclosures during discovery. Designations under this Order shall be made with care and
shall not be made absent a good faith belief that the designated material satisfies the criteria set
forth below. If it comes to a Producing Party’s attention that designated material does not qualify
for protection at all, or does not qualify for the level of protection initially asserted, the Producing
Party must promptly notify all other Parties that it is withdrawing or changing the designation.

2. DEFINITIONS

(a) “Discovery Material” means all items or information, including from any
non-party, regardless of the medium or manner generated, stored, or maintained (including, among
other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated in
connection with discovery or Rule 26(a) disclosures in this case.

(b) “Outside Counsel” means (i) outside counsel who appear on the pleadings as
counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is reasonably

necessary to disclose the information for this litigation.

[PROPOSED] PROTECTIVE ORDER

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(c) “Party” means any party to this case, including all of its officers, directors,
employees, consultants, retained experts, and outside counsel and their support staffs.

(d) “Producing Party” means any Party or non-party that discloses or produces
any Discovery Material in this case. In addition, any Party shall be entitled to designate as
“CONFIDENTIAL” or “CONFIDENTIAL — ATTORNEYS’ EYES ONLY” any of its
confidential, proprietary, and/or commercially sensitive information in the other Party’s possession,
custody, or control and shall be considered a “Producing Party” in such instances.

(e) “Protected Material” means any Discovery Material that is designated as
“CONFIDENTIAL” or “CONFIDENTIAL — ATTORNEYS’ EYES ONLY,” as provided for in
this Order. Protected Material shall not include: (i) advertising materials that have been actually
published or publicly disseminated; and (ii) materials that show on their face they have been
disseminated to the public.

(f) “Receiving Party” means any Party who receives Discovery Material from a
Producing Party.

3. COMPUTATION OF TIME

The computation of any period of time prescribed or allowed by this Order shall be
governed by the provisions for computing time set forth in Federal Rule of Civil Procedure 6.
4. SCOPE
(a) The protections conferred by this Order cover not only Discovery Material
governed by this Order as addressed herein, but also any information copied or extracted therefrom,
as well as all copies, excerpts, summaries, or compilations thereof, plus testimony, conversations,
or presentations by Parties or their counsel in court or in other settings that might reveal Protected
Material.
(b) Nothing in this Protective Order shall prevent or restrict a Producing Party’s
own disclosure or use of its own Protected Material for any purpose, and nothing in this Order shall
preclude any Producing Party from showing its Protected Material to an individual who prepared

the Protected Material. Further, nothing in this Protective Order shall prevent or restrict Plaintiff's

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own disclosure or use for any purpose of material in Defendant’s possession, custody, or control
that contains, reflects, or was derived from Plaintiff's Protected Material.

(c) Nothing in this Order shall be construed to prejudice any Party’s right to use
any Protected Material in court or in any court filing with the consent of the Producing Party or by
order of the Court.

(d) This Order is without prejudice to the right of any Party to seek further or
additional protection of any Discovery Material or to modify this Order in any way including,
without limitation, an order that certain matter not be produced at all.

5. DURATION
Even after the termination of this case, the confidentiality obligations imposed by this Order
shall remain in effect until a Producing Party agrees otherwise in writing or a court order otherwise

directs.

6. ACCESS TO AND USE OF PROTECTED MATERIAL

(a) Basic Principles. All Protected Material shall be used solely for this case or

any related appellate proceeding, and not for any other purpose whatsoever, including without
limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue
proceedings, or any business or competitive purpose or function. Protected Material shall not be
distributed, disclosed or made available to anyone except as expressly provided in this Order.

(b) Secure Storage, No Export. Protected Material must be stored and
maintained by a Receiving Party in a secure manner that ensures that access is limited to the
persons authorized under this Order. To ensure compliance with applicable United States Export
Administration Regulations, Protected Material designated “CONFIDENTIAL —- ATTORNEYS’
EYES ONLY” may not be exported outside the United States or released to any foreign national
(even if within the United States).

(c) Legal Advice Based on Protected Material. Nothing in this Protective Order
shall be construed to prevent counsel from advising their clients with respect to this case based in
whole or in part upon Protected Material, provided counsel does not disclose the Protected Material
itself except as provided in this Order.

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[PROPOSED] PROTECTIVE ORDER

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(d) Limitations. Nothing in this Order shall restrict in any way a Producing
Party’s use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any
way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become
publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or known
to the Receiving Party independent of the Producing Party; (1ii) previously produced, disclosed
and/or provided by the Producing Party to the Receiving Party or a non-party without an obligation
of confidentiality and not by inadvertence or mistake; (iv) with the consent of the Producing Party;

or (v) pursuant to order of the Court.

7. DESIGNATING PROTECTED MATERIAL

(a) Available Designations. Any Producing Party may designate Discovery
Material with any of the following designations, provided that it meets the requirements for such
designations as provided for herein: “CONFIDENTIAL” or “CONFIDENTIAL — ATTORNEYS’
EYES ONLY.”

(b) Written Discovery and Documents and Tangible Things. Written discovery,
documents (which include “electronically stored information,” as that phrase is used in Federal
Rule of Procedure 34), and tangible things that meet the requirements for the confidentiality
designations listed in Paragraph 7(a) may be so designated by placing the appropriate designation
on every page of the written material prior to production. For digital files being produced, the
Producing Party may mark each viewable page or image with the appropriate designation, and
mark the medium, container, and/or communication in which the digital files were contained. In
the event that original documents are produced for inspection, the original documents shall be
presumed “CONFIDENTIAL — ATTORNEYS’ EYES ONLY” during the inspection and
re-designated, as appropriate during the copying process.

(c) Native Files. Where electronic files and documents are produced in native
electronic format, such electronic files and documents shall be designated for protection under this
Order by appending to the file names or designators information indicating whether the file
contains “CONFIDENTIAL” or “CONFIDENTIAL — ATTORNEYS’ EYES ONLY” material, or
shall use any other reasonable method for so designating Protected Material produced in electronic

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format. When electronic files or documents are printed for use at deposition, in a court proceeding,
or for provision in printed form to an expert or consultant, the party printing the electronic files or
documents shall affix a legend to the printed document corresponding to the designation of the
Designating Party and including the production number and designation associated with the native
file. No one shall seek to use in this litigation a .tiff, .pdf or other image format version of a
document produced in native file format without first (1) providing a copy of the image format
version to the Producing Party so that the Producing Party can review the image to ensure that no
information has been altered, and (2) obtaining the consent of the Producing Party, which consent
shall not be unreasonably withheld.

(d) Depositions and Testimony. Parties or testifying persons or entities may
designate depositions and other testimony with the appropriate designation by indicating on the
record at the time the testimony is given or by sending written notice of how portions of the
transcript of the testimony is designated within thirty (30) days of receipt of the final transcript of
the testimony. If no indication on the record is made, all information disclosed during a deposition
shall be deemed “CONFIDENTIAL” until the time within which it may be appropriately
designated as provided for herein has passed. Any Protected Material that is used in the taking of a
deposition shall remain subject to the provisions of this Protective Order, along with the transcript
pages of the deposition testimony dealing with such Protected Material. In such cases the court
reporter shall be informed of this Protective Order and shall be required to operate in a manner
consistent with this Protective Order. In the event the deposition is videotaped, the original and all
copies of the videotape shall be marked by the video technician to indicate that the contents of the
videotape are subject to this Protective Order, substantially along the lines of “This videotape
contains confidential testimony used in this case and is not to be viewed or the contents thereof to
be displayed or revealed except pursuant to the terms of the operative Protective Order in this
matter or pursuant to written stipulation of the parties.” Counsel for any Producing Party shall
have the right to exclude from oral depositions, other than the deponent, deponent’s counsel, the
reporter and videographer (if any), any person who is not authorized by this Protective Order to
receive or access Protected Material based on the designation of such Protected Material. Such

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right of exclusion shall be applicable only during periods of examination or testimony regarding
such Protected Material.
8. DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL”

(a) A Producing Party may designate Discovery Material as
“CONFIDENTIAL.” if it contains or reflects confidential, proprietary, and/or commercially
sensitive information of any party.

(b) Plaintiff hereby designates as “CONFIDENTIAL” the following information
disclosed by Defendant: TRIPP000001-TRIPP000933. Defendant agrees that all information
designated as “CONFIDENTIAL” pursuant to this paragraph constitutes Protected Material and
that Defendant shall henceforth treat all such material as “CONFIDENTIAL” in accordance with
Paragraph 8(c). Nothing in this paragraph shall limit Plaintiffs ability to designate additional
information disclosed by Defendant as “CONFIDENTIAL.”

(c) Unless otherwise ordered by the Court, Discovery Material designated as
“CONFIDENTIAL” may be disclosed only to the following:

(i) The Receiving Party and the Receiving Party’s in-house and Outside
Counsel, such counsel’s immediate paralegals and staff, and any copying or clerical litigation
support services working at the direction of such counsel, paralegals, and staff;

(ii) | Current employees of the Receiving Party with whom that Party's
in-house or Outside Counsel need to consult for purposes of this litigation;

(i111) | Any outside expert or consultant retained by the Receiving Party to
assist in this action, provided that disclosure is only to the extent necessary to perform such work;
and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the
Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current
officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time of
retention to become an officer, director or employee of a Party or of a competitor of a Party; and
(c) such expert or consultant accesses the materials in the United States only, and does not transport

them to or access them from any foreign jurisdiction;

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(iv) | Court reporters, stenographers and videographers retained to record
testimony taken in this action;

(v) The Court, jury, and court personnel;

(vi) | Graphics, translation, design, and/or trial consulting personnel,
having first agreed to be bound by the provisions of the Protective Order by signing a copy of
Exhibit A;

(vii) Mock jurors who have signed an undertaking or agreement agreeing
not to publicly disclose Protected Material and to keep any information concerning Protected
Material confidential;

(viii) Any mediator who is assigned to hear this matter, and his or her staff,
subject to their agreement to maintain confidentiality to the same degree as required by this
Protective Order; and

(ix) | Any other person with the prior written consent of the Producing
Party.

9. DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL —
ATTORNEYS’ EYES ONLY”

(a) A Producing Party may designate Discovery Material as
“CONFIDENTIAL — ATTORNEYS’ EYES ONLY” if it contains or reveals highly confidential
trade secrets, proprietary business information, or nonpublic personal, medical, client, or customer
information that the Producing Party reasonably believes would create a substantial risk of serious
economic harm, competitive disadvantage, or other injury if disclosed to persons other than those
permitted to receive Discovery Material designated “HIGHLY CONFIDENTIAL — ATTORNEYS’
EYES ONLY” pursuant to this Order, and such risk cannot be avoided by less restrictive means.

(b) Unless otherwise ordered by the Court, Discovery Material designated as
“CONFIDENTIAL — ATTORNEYS’ EYES ONLY” may be disclosed only to:

(i) The Receiving Party’s Outside Counsel, provided that such Outside
Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,
730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

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Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support
services working at the direction of such counsel, paralegals, and staff;

(ii) In-house counsel of the Receiving Party, as well as their immediate
paralegals and staff to whom disclosure is reasonably necessary for this case;

(iii) | Any outside expert or consultant retained by the Receiving Party to
assist in this action, provided that disclosure is only to the extent necessary to perform such work;
and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the
Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current
officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time of
retention to become an officer, director, or employee of a Party or of a competitor of a Party;

(c) such expert or consultant is not involved in competitive decision-making, as defined by U.S.
Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a
competitor of a Party; and (d) such expert or consultant accesses the materials in the United States
only, and does not transport them to or access them from any foreign jurisdiction;

(iv) Court reporters, stenographers and videographers retained to record
testimony taken in this action;

(v) The Court, jury, and court personnel;

(vi) | Graphics, translation, design, and/or trial consulting personnel,
having first agreed to be bound by the provisions of the Protective Order by signing a copy of
Exhibit A;

(vii) Any mediator who is assigned to hear this matter, and his or her staff,
subject to their agreement to maintain confidentiality to the same degree as required by this
Protective Order;

(viii) Any other person with the prior written consent of the Producing
Party; and

(ix) The Defendant, provided that disclosure is only to the extent
necessary to assist Outside Counsel in the defense or prosecution of this case; and provided that:
(a) such disclosure is in person in the offices of Defendant’s Outside Counsel; (b) such disclosure is

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in the presence of Outside Counsel or an expert/consultant to whom disclosure is permitted under
Paragraph 9(b)(iii) of the Order; and (c) Defendant is not permitted to photograph, duplicate, retain
copies of, or otherwise reproduce any Discovery Material designated as “CONFIDENTIAL —
ATTORNEYS’ EYES ONLY.”

10. CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

(a) A Party shall not be obligated to challenge the propriety of any designation
of Discovery Material under this Order at the time the designation is made, and a failure to do so
shall not preclude a subsequent challenge thereto.

(b) Any challenge to a designation of Discovery Material under this Order shall
be written, shall be served on outside counsel for the Producing Party, shall particularly identify the
documents or information that the Receiving Party contends should be differently designated, and
shall state the grounds for the objection. Thereafter, further protection of such material shall be
resolved in accordance with the following procedures:

(i) The objecting Party shall have the burden of conferring either in
person, in writing, or by telephone with the Producing Party claiming protection (as well as any
other interested party) in a good faith effort to resolve the dispute. The Producing Party shall have
the burden of justifying the disputed designation;

(11) —‘ Failing agreement, the Receiving Party may bring a motion to the
Court for a ruling that the Discovery Material in question is not entitled to the status and protection
of the Producing Party’s designation. The Parties’ entry into this Order shall not preclude or
prejudice either Party from arguing for or against any designation, establish any presumption that a
particular designation is valid, or alter the burden of proof that would otherwise apply in a dispute
over discovery or disclosure of information;

(iii) | Notwithstanding any challenge to a designation, the Discovery
Material in question shall continue to be treated as designated under this Order until one of the
following occurs: (a) the Party who designated the Discovery Material in question withdraws such
designation in writing; or (b) the Court rules that the Discovery Material in question is not entitled
to the designation.

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11. SUBPOENAS OR COURT ORDERS

If at any time Protected Material is subpoenaed by any court, arbitral, administrative, or
legislative body or by other process or order, the Party to whom the subpoena or other request is
directed shall immediately give prompt written notice thereof to every Party who has produced
such Discovery Material and to its counsel, shall furnish counsel for each such Party with a copy of
said subpoena or other process or order, and shall provide each such Party with an opportunity to
move for a protective order regarding the production of Protected Material implicated by the

subpoena or other process or order.

12. FILING PROTECTED MATERIAL

(a) Without written permission from the Producing Party or a court order
secured after appropriate notice to all interested persons, a Party may not file in the public record in
this action any Protected Material. A Party that seeks to file under seal any Protected Material
must comply with LR IA 10-5.

13. INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

(a) The inadvertent production by a Party of Discovery Material subject to the
attorney-client privilege, work-product protection, or any other applicable privilege or protection,
despite the Producing Party’s reasonable efforts to prescreen such Discovery Material prior to
production, will not waive the applicable privilege and/or protection if a request for return of such
inadvertently produced Discovery Material is made promptly after the Producing Party learns of its
inadvertent production.

(b) Upon a request from any Producing Party who has inadvertently produced
Discovery Material that it believes is privileged and/or protected, each Receiving Party shall
immediately return or destroy such Protected Material or Discovery Material and any copies
thereof and promptly notify the Producing Party of the return/destruction within two (2) business
days of receipt of notice, must not use or disclose information contained therein, and must take
reasonable steps to retrieve the specified such Protected Material or Discovery Material if the

requesting party disclosed it before being notified.

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(c) Nothing herein shall prevent the Receiving Party from preparing a record for
its own use containing the date, author, addresses, and topic of the inadvertently produced
Discovery Material and such other information as is reasonably necessary to identify the Discovery
Material and describe its nature to the Court in any motion to compel production of the Discovery
Material.

14.  INADVERTENT FAILURE TO DESIGNATE PROPERLY

(a) The inadvertent failure by a Producing Party to designate Discovery Material
as Protected Material with one of the designations provided for under this Order shall not waive
any such designation provided that the Producing Party notifies all Receiving Parties that such
Discovery Material is protected under one of the categories of this Order within fourteen (14) days
of the Producing Party learning of the inadvertent failure to designate. The Producing Party shall
reproduce the Protected Material with the correct confidentiality designation within seven (7) days
upon its notification to the Receiving Parties. Upon receiving the Protected Material with the
correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the
Producing Party’s option, all Discovery Material that was not designated properly and promptly
notify the Producing Party of the return and/or destruction within two (2) business days of receipt
of notice.

(b) — A Receiving Party shall not be in breach of this Order for any use of such
Discovery Material before the Receiving Party receives such notice that such Discovery Material is
protected under one of the categories of this Order, unless an objectively reasonable person would
have realized that the Discovery Material should have been appropriately designated with a
confidentiality designation under this Order. Once a Receiving Party has received notification of
the correct confidentiality designation for the Protected Material with the correct confidentiality
designation, the Receiving Party shall treat such Discovery Material at the appropriately designated
level pursuant to the terms of this Order.

15. INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

(a) In the event of a disclosure of any Discovery Material pursuant to this Order
to any person or persons not authorized to receive such disclosure under this Protective Order, the

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Party responsible for having made such disclosure, and each Party with knowledge thereof, shall
immediately notify counsel for the Producing Party whose Discovery Material has been disclosed
and provide to such counsel all known relevant information concerning the nature and
circumstances of the disclosure. The responsible disclosing Party shall also promptly take all
reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no
further or greater unauthorized disclosure and/or use thereof is made.

(b) | Unauthorized or inadvertent disclosure does not change the status of
Discovery Material or waive the right to hold the disclosed document or information as Protected.

16. FINAL DISPOSITION

(a) Not later than ninety (90) days after the Final Disposition of this case, each
Party shall return all Discovery Material of a Producing Party to the respective outside counsel of
the Producing Party or destroy such Material, at the option of the Producing Party. For purposes of
this Order, “Final Disposition” occurs after an order, mandate, or dismissal finally terminating the
above-captioned action with prejudice, including all appeals.

(b) — All Parties that have received any such Discovery Material shall certify in
writing that all such materials have been returned to the respective outside counsel of the Producing
Party or destroyed. Notwithstanding the provisions for return of Discovery Material, outside
counsel may retain one set of pleadings, motion or other court papers, trial, deposition, and hearing
transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
work product, and consultant and expert work product (but not document productions) for archival
purposes. Any such archival copies remain subject to this Order.

17. MISCELLANEOUS

(a) Right to Further Relief. Nothing in this Order abridges the right of any
person to seek its modification by the Court in the future. By stipulating to this Order, the Parties
do not waive the right to argue that certain material may require additional or different

confidentiality protections than those set forth herein.

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(b) Termination of Matter and Retention of Jurisdiction. The Parties agree that

the terms of this Protective Order shall survive and remain in effect after the Final Determination of
the above-captioned matter.

(c) Successors. This Order shall be binding upon the Parties hereto, their
attorneys, and their successors, executors, personal representatives, administrators, heirs, legal
representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and
experts, and any persons or organizations over which they have direct control.

(d) Right to Assert Other Objections. By stipulating to the entry of this
Protective Order, no Party waives any right it otherwise would have to object to disclosing or
producing any information or item. Similarly, no Party waives any right to object on any ground to
use in evidence of any of the material covered by this Protective Order. This Order shall not
constitute a waiver of the right of any Party to claim in this action or otherwise that any Discovery
Material, or any portion thereof, is privileged or otherwise non-discoverable, or is not admissible in
evidence in this action or any other proceeding.

(e) Burdens of Proof. Notwithstanding anything to the contrary above, nothing

in this Protective Order shall be construed to change the burdens of proof or legal standards
applicable in disputes regarding whether particular Discovery Material is confidential, which level
of confidentiality is appropriate, whether disclosure should be restricted, and if so, what restrictions
should apply.

(f) Modification by Court. This Order is subject to further court order based
upon public policy or other considerations, and the Court may modify this Order sua sponte in the
interests of justice. During the pendency of this litigation, the United States District Court for
District of Nevada is responsible for the interpretation and enforcement of this Order. All disputes
concerning Protected Material, however designated, produced under the protection of this Order
shall, during the pendency of this litigation, be resolved by the United States District Court for the
District of Nevada.

(g) Discovery Rules Remain Unchanged. Nothing herein shall alter or change in

any way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for the

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United States District Court for District of Nevada, or the Court’s own orders. Identification of any
individual pursuant to this Protective Order does not make that individual available for deposition
or any other form of discovery outside of the restrictions and procedures of the Federal Rules of

Civil Procedure, the Local Rules for the United States District Court for District of Nevada, or the

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Court’s own orders.

Dated: October 10, 2018

Dated: October 10, 2018

Respectfully submitted,
HUESTON HENNIGAN LLP

/s/ Allison L. Libeu

Allison L. Libeu
Attorneys for Plaintiff Tesla, Inc.

TIFFANY & BOSCO, P.A.

/s/ Robert D. Mitchell

Robert D. Mitchell
Attorneys for Defendant Martin Tripp

ORDER

IT IS SO ORDERED

UNITED STATES MAGISTRATE JUDGE

DATED:

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[PROPOSED] PROTECTIVE ORDER

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EXHIBIT A

I, , acknowledge and declare that I have received a copy

of the Protective Order (“Order”) in Tesla, Inc. v. Martin Tripp, United States District Court,
District of Nevada, Case No. 3:18-cv-00296-LRH-VPC. Having read and understood the terms of
the Order, I agree to be bound by the terms of the Order and consent to the jurisdiction of said

Court for the purpose of any proceeding to enforce the terms of the Order.

Name of individual:

Present occupation/job description:

Name of Company or Firm:

Address:

Dated:

[Signature]

[PROPOSED] PROTECTIVE ORDER

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